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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-cv-24656-ALTONAGA/Goodman

  CARLOS J. CASTILLO GONZALEZ and
  MACK NASCIMENTO,

         Plaintiffs,

  vs.


  B & K CONTRACTOR SERVICES, INC.,
  a Florida for-profit corporation; and
  LEONARDO GOMEZ, individually,

        Defendants.
  ____________________________________/

        PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiffs CARLOS J. CASTILLO-GONZALEZ and MACK NASCIMENTO, through

  undersigned counsel and pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure,

  hereby gives notice of her voluntary dismissal, without prejudice, of the above-styled case against

  Defendants, B & K CONTRACTOR SERVICES, INC. and LEONARDO GOMEZ.

         DATED: December 21, 2018

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  By____s/ Roderick V. Hannah __                       By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                   PELAYO M. DURAN
        Fla. Bar No. 435384                                  Fla. Bar No. 0146595
